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 5
 6 Of Counsel to:
   Michigan Consumer Credit Lawyers
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 9
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10
11 Attorneys for Plaintiff,
   Cynthia Green
12
13                   IN THE UNITED STATES DISTRICT COURT
14                        FOR THE DISTRICT OF NEVADA

15 Cynthia Green,
16
                    Plaintiff,                      Case No.: 2:20-cv-02004-RFB-DJA
17
18        vs.

19 Equifax Information Services, LLC., et al.
20
                 Defendant.
21
22
                       STIPULATION OF DISMISSAL
23        AS TO DEFENDANT EQUIFAX INFORMATION SERVICES, LLC
24
25
           IT IS HEREBY ORDERED that the above-captioned action be dismissed,
26
     with prejudice, against Defendant Equifax Information Services, LLC., with each
27
28 party to bear its own attorneys’ fees and costs.
                                                1
      Case 2:20-cv-02004-RFB-DJA Document 38 Filed 07/06/21 Page 2 of 4



 1 July 2, 2021
 2
 3                                                  Respectfully submitted,
 4
 5                                                  By:/s/ Kristie L. Fischer
 6                                                  Kristie L. Fischer
                                                    2565 Coral Sky Court,
 7                                                  Las Vegas, Nevada 89142
 8                                                  Telephone: (702) 218-0253
                                                    Email: fischer.kristie@gmail.com
 9
10
11
                                                    By: /s/Jeremy J. Thompson
12                                                  Jeremy J. Thompson
                                                    Nevada Bar No. 12503
13
                                                    3800 Howard Hughes Pkwy, Suite 500
14                                                  Las Vegas, NV 89169
15                                                  Tel: (702) 862-8300
                                                    Fax: (702) 862-8400
16                                                  Email: jthompson@clarkhill.com
17                                                  Attorney for Defendant
                                                    Equifax Information Services LLC
18
19
20
21                                  PROOF OF SERVICE

22        I, Kristie L. Fischer, hereby state that on July 2, 2021 I served a copy of
23 the foregoing pleading upon all counsel of record via the ECF System.
24
25                                                  /s/ Kristie L. Fischer
26
27
28
                                                2
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 1
 2                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEVADA
 3
 4 Cynthia Green,
 5                  Plaintiff,                      Case No.: 2:20-cv-02004-RFB-DJA
 6
          vs.
 7
 8 Equifax Information Services, LLC., et al.
 9                Defendant.
10
11                      ORDER OF DISMISSAL
12      WITH PREJUDICE AS TO DEFENDANT EQUIFAX INFORMATION
                            SERVICES, LLC
13
14        The Court, having reviewed the parties’ stipulation, and finding good cause
15
     shown;
16
17        IT IS HEREBY ORDERED that Plaintiff’s claims against Defendant Equifax

18 Information Services, LLC., are hereby dismissed with prejudice and without fees or
19
   costs to either party. The Clerk of the Court shall terminate Equifax Information
20
21 Services, LLC., as a party in this action and remove its attorneys of record from
22 receiving ECF Notifications.
23
24 Date: _____________
          July 6, 2021.                             ______________________________
25                                                  Judge of United States District Court
26
27
28
                                                3
           Case 2:20-cv-02004-RFB-DJA Document 38 Filed 07/06/21 Page 4 of 4




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